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              16
                                           IN THE UNITED STATES DISTRICT COURT
              17
                                                 FOR THE DISTRICT OF ARIZONA
              18
              19
                        Nikola Corporation, a Delaware             No. CV-18-01344-PHX-GMS
              20        corporation,
              21                                                   TESLA, INC.’S REPLY IN
                                            Plaintiff,             SUPPORT OF ITS MOTION TO
              22                                                   DISMISS
                        vs.
              23
                                                                   (Oral Argument Requested)
              24        Tesla, Inc., a Delaware corporation,
              25                            Defendant.
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              27
              28

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                   1   I.     INTRODUCTION
                   2          Nikola’s First Amended Complaint (“FAC”) fails to state a claim for design patent
                   3   infringement. Nor could it state such a claim, given the clear dissimilarities between the
                   4   Tesla Semi and Nikola’s patented designs. Accordingly, the FAC should be dismissed
                   5   with prejudice, as explained in detail in Tesla’s moving brief.
                   6          Nikola’s opposition brief fails to offer any legally cognizable basis on which to
                   7   save the FAC from dismissal. Nikola does not even attempt to distinguish the substantial
                   8   body of analogous cases cited by Tesla where design patent infringement claims were
                   9   dismissed with prejudice at the pleading stage. (See Moving Br. at 5-6.) Nikola does not
              10       meaningfully address the significant differences between the parties’ respective designs
              11       that are apparent in Tesla’s side-by-side comparisons. (See id. at 8, 10-13, 16.) Instead,
              12       Nikola seeks to avoid dismissal by simply ignoring the substantial differences identified
              13       by Tesla, and relying on the FAC’s conclusory statements, out-of-context quotations, and
              14       misleadingly cherry-picked prior art. Nikola’s arguments are unavailing.
              15              In short, Nikola’s FAC must be dismissed with prejudice because the obvious
              16       dissimilarities shown in the side-by-side visual comparisons included in Tesla’s moving
              17       brief establish that an ordinary observer would not mistake a Tesla Semi for Nikola’s
              18       patented designs. In these circumstances, there can be no infringement as a matter of law
              19       and the FAC should be dismissed with prejudice.
              20       II.    ARGUMENT
                              A.  Courts Routinely Dismiss Complaints For Design Patent Infringement
              21
                                  When There Is No Plausible Claim.
              22              Nikola incorrectly asserts that Tesla seeks “to impose a standard of pleading not
              23       found in design patent cases.” (Opp. at 1.) The pleading standard is no different for
              24       design patent cases than other cases. “Threadbare recitals of the elements of a cause of
              25       action, supported by mere conclusory statements, do not suffice.” Ashcroft v. Iqbal, 556
              26       U.S. 662, 678 (2009) (citation omitted); see also id. at 679-81 (identifying and ignoring
              27       “bare assertions” in the complaint that were “conclusory and not entitled to be assumed
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                   1   as true”); Anderson v. Kimberly-Clark Corp., 570 F. App’x 927, 931-34 (Fed. Cir. 2014)
                   2   (quoting Iqbal and affirming dismissal of design patent infringement claim).                   A
                   3   complaint must show that the pleader is entitled to relief. Iqbal, 556 U.S. at 679 (citing
                   4   Fed. R. Civ. P. 8(a)(2)).
                   5          Tesla’s motion is based on the established manner in which the general pleading
                   6   standard is applied in the design patent context. Specifically, the case law mandates that
                   7   “‘[w]here the claimed and accused designs are “sufficiently distinct” and “plainly
                   8   dissimilar,” the patentee fails to meet its burden of proving infringement as a matter of
                   9   law’” and the complaint should be dismissed for failure to state a claim. NuVasive, Inc.
              10       v. Alphatec Holdings, Inc., No. 18-CV-347-CAB-MDD, 2018 WL 2734881, at *3 (S.D.
              11       Cal. May 14, 2018) (quoting Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d
              12       1312, 1335 (Fed. Cir. 2015)) (dismissing claims with prejudice where “the differences
              13       between the two designs as evident from the illustrations and photographs . . . make
              14       NuVasive’s infringement claim implausible”).
              15              Courts routinely grant motions to dismiss in design patent cases where
              16       infringement is implausible. See, e.g., Colida v. Nokia, Inc., 347 F. App’x 568, 571 (Fed.
              17       Cir. 2009) (affirming dismissal of claims because “dissimilarities far exceed the
              18       similarities”); Performance Designed Prods. LLC v. Mad Catz, Inc., Case No. 16cv629-
              19       GPC(RBB), 2016 WL 3552063, at *4 (S.D. Cal. June 29, 2016) (dismissing claims with
              20       prejudice, reasoning that “[a]fter a side-by-side comparison of the Accused Controller
              21       with the ‘D078 Design Patent, . . . viewing the overall differences, the two designs are
              22       not ‘substantially the same’ and an ordinary observer would not be deceived into
              23       believing that the accused product is the same as the patented design”); SCG Characters
              24       LLC v. Telebrands Corp., No. CV 15-00374 DDP (AGRx), 2015 WL 4624200, at *5
              25       (C.D. Cal. Aug. 3, 2015) (dismissing claim with prejudice because “the patented design
              26       and claimed design are sufficiently distinct that it is clear that [plaintiff] cannot satisfy the
              27       ordinary observer test”); OurPet’s Co. v. IRIS USA, Inc., No. 1:14 CV 1642, 2015 WL
              28       12780599, at *2-3 (N.D. Ohio Mar. 23, 2015) (dismissing complaint with prejudice after
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                   1   comparing patent drawings to photographs of accused product and finding portions
                   2   “plainly dissimilar” such that “an ordinary observer would not be induced to buy one
                   3   supposing it to be the other”); Anderson v. Kimberly-Clark Corp., No. C12-1979RAJ,
                   4   2013 WL 9760040, at *2-3 (W.D. Wash. Sept. 25, 2013), aff’d, 570 F. App’x 927 (Fed.
                   5   Cir. 2014) (granting 12(c) motion after performing “a side-by-side comparison” and
                   6   concluding that “[n]o amendment of [the] complaint could overcome the plain
                   7   differences between [the] claimed design and the accused products.”); MSA Prods, Inc. v.
                   8   Nifty Home Prods., Inc., 883 F. Supp. 2d 535, 540-41 (D.N.J. 2012) (“[Plaintiff] is wrong
                   9 that the Court cannot determine infringement as a matter of law at the motion to
              10 dismiss stage. . . . [M]any courts have dismissed claims of design infringement on Rule
              11 12(b)(6) motions where, as a matter of law, the court finds that no reasonable fact-finder
              12 could find infringement.” (emphasis added) (collecting cases)).1
              13             Nikola cannot rest on conclusory allegations of similarity that ignore the plain
              14 dissimilarities between its claimed designs and the corresponding portions of the Tesla
              15 Semi. Nikola relies on Hall v. Bed Bath & Beyond, Inc., 705 F.3d 1357, 1362 (Fed. Cir.
              16 2013) to argue that such conclusory allegations should be accepted as true. (Opp. at 3.)
              17 This exact approach was recently rejected in NuVasive:
              18                    NuVasive would have the Court ignore the obvious
                                    differences between the claimed and accused products and
              19                    deny the motion to dismiss simply because the complaint
                                    contains the conclusory allegation, contradicted by the
              20                    comparison of the illustrations and photographs in the
                                    complaint, that an ordinary observer would be deceived into
              21                    thinking that the accused product was actually the patented
                                    design. For this argument, NuVasive relies on Hall . . . . Due
              22                    to the obvious differences between the claimed design and the
                                    [accused product] . . . NuVasive does not satisfy the fourth
              23                    element [of Hall] because it does not state the means by
                                    which Alphatec infringes . . . .
              24
                       1
              25   The lone case Nikola cites, Bobcar Media, does not require a different result. (Opp. at
                 4-5.) There is no indication that the Bobcar Media court considered the differences
              26 identified by Nikola and rejected them. See Bobcar Media, LLC v. Aardvark Event
                 Logistics, Inc., No. 16-CV-885 (JPO), 2017 WL 74729, at *5 (S.D.N.Y. Jan. 4, 2017).
              27 Rather, the Bobcar Media court simply found the claims to be “plausible.” Id. Here,
                 Nikola’s infringement claims are not plausible in light of the significant differences
              28 shown in Tesla’s moving brief.
                                                                    3
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                   1   NuVasive, 2018 WL 2734881, at *4. The same reasoning applies here. Moreover, Hall
                   2   is distinguishable because, contrary to Nikola’s suggestion (see Opp. at 3), Hall did not
                   3   turn merely on the plaintiff’s conclusory allegation that the accused product was virtually
                   4   identical to the patented design. See Hall, 705 F.3d at 1362-64 (finding district court
                   5 applied wrong infringement test and identifying specific allegations in “lengthy
                   6 complaint” making claims “plausible”).2
                           B.    Nikola Ignores Obvious Differences That Would Be Apparent To An
                   7
                                 Ordinary Observer.
                   8       Nikola cannot “ignore the obvious differences between the claimed and accused
               9 products” and expect the FAC’s conclusory allegations to save it from dismissal.
              10 NuVasive, 2018 WL 2734881, at *4. But that is exactly the result that Nikola requests.
              11 Nikola argues that Tesla raises only “trivial differences” between the claimed and
              12 accused designs and asks the Court to ignore them. (Opp. at 8.) But “[c]ontrary to
              13 [Nikola’s] intimation, differences between patented and accused designs are not
              14 irrelevant” and should be considered. FMC Corp. v. Hennessy Indus., Inc., 836 F.2d 521,
              15 527-28 (Fed. Cir. 1987). And the differences Tesla has identified are hardly trivial, as
              16 explained in Tesla’s moving brief and below. Indeed, yesterday the USPTO issued two
              17 design patents on Tesla’s distinctive Cab design for the Tesla Semi over cited prior art
              18 from Nikola, including Nikola’s asserted door patent. (See Makker Decl. Exs. 11-12.)3
              19             Nikola’s attempts to sidestep the obvious differences by arguing “there is no
              20       evidence that an ordinary observer would find these differences to be important” should
              21       also be rejected. (Opp. at 14.) Nikola applies the wrong standard. Applying the proper
              22       standard, an ordinary observer, in light of the glaring differences here, would not be
              23
              24       2
                         Nikola’s argument that “[d]esign patent complaints routinely include a picture of the
              25       infringing product next to the protected design” and that nothing more is required simply
                       ignores the numerous cases cited herein that dismiss such complaints. (Opp. at 2-3.)
                       Nikola also fails to mention that the Apple v. Samsung complaint was never challenged
              26       on a motion to dismiss and the Michelin v. Tire Mart complaint was voluntarily
                       dismissed without ever serving the complaint. (See Makker Decl. Ex. 8.)
              27
                       3
                         Tesla requests that the Court take judicial notice of these patents (U.S. Pat. No.
              28       D825,391 and U.S. Pat. No. D825,392) under Federal Rule of Evidence 201.
                                                                     4
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                   1   deceived and induced “to purchase one supposing it to be the other.” Egyptian Goddess,
                   2   Inc. v. Swisa, Inc., 543 F.3d 665, 683 (Fed. Cir. 2008) (quoting Gorham Co. v. White, 81
                   3   U.S. 511, 528 (1871)).4
                                    1.     The Ornamental Aspects Of The Tesla Semi’s Door Are Plainly
                   4
                                           Dissimilar From Nikola’s Claimed Design.
                   5          That Nikola is improperly ignoring differences in ornamentation and attempting to
                   6   claim general design concepts is made perfectly clear when it refers to the claimed door
                   7   as a “general rectangular shaped” one. (Opp. at 17 (in figures); Willis Decl. Ex. 6 at 1,
                   8   3.) Nikola effectively asks this Court to ignore the ornamentation of its claim—which
                   9   includes the two sloped top portions described in Tesla’s motion—and focus on the
              10       general “rectangular” shape of the two doors, even though Nikola’s claimed door is not
              11       rectangular.5 Moreover, there is nothing inventive or distinctive about a rectangular door
              12       in the abstract. The differences identified by Tesla (see Moving Br. at 6-9) show that the
              13       ornamentation of “the claimed and accused designs are ‘sufficiently distinct’ and ‘plainly
              14       dissimilar,’ [and Nikola] fails to meet its burden of proving infringement as a matter of
              15       law.” Ethicon, 796 F.3d at 1335 (citation omitted).
              16                    2.     The Ornamental Aspects Of The Tesla Semi’s Fuselage Are
                                           Plainly Dissimilar From Nikola’s Claimed Design.
              17
                              Contrary to Nikola’s mischaracterization, Tesla is not arguing that all vehicle
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                       patents have no claim scope. (See Opp. at 11-12.) But Nikola ignores that the scope of a
              19
                       design patent “must be limited to the ornamental aspects of the design, and does not
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                       extend to the broader general design concept.” Ethicon, 796 F.3d at 1333 (internal
              21
                       quotations omitted) (emphasis added). Just as it did in its FAC, Nikola’s response to
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              23       4
                         This is especially true here given the price of a Tesla Semi. See, e.g., Hutzler Mfg. Co.
              24       v. Bradshaw Int’l, Inc., No. 11 Civ. 7211(PGG), 2012 WL 3031150, at *7 (S.D.N.Y. July
                       25, 2012) (“In considering the degree of attention a typical consumer is likely to bring to
              25       a purchase, it is reasonable to assume that consumers will bring greater attention to an
                       expensive purchase . . . .” (collecting cases)).
                       5
              26         Even the prior art door cited is more rectangular than Nikola’s. (See Opp. at 16.) See
                       also Crocs, Inc. v. Int’l Trade Comm’n, 598 F.3d 1294, 1303 (Fed. Cir. 2010) (“If the
              27       claimed design is close to the prior art designs, small differences between the accused
                       design and the claimed design assume more importance to the eye of the hypothetical
              28       ordinary observer.” (emphasis added) (citation omitted)).
                                                                     5
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                   1   Tesla’s side-by-side comparisons—which show glaring differences in the two designs—
                   2   is to note that some writers have referred to the “aerodynamic design” or “Tron-like”
                   3   appearance of Nikola’s truck. (Opp. at 14.) These are general design concepts and do
                   4   not show that the ornamentation of the patented and accused designs is the same.
                   5            OddzOn is instructive here, despite Nikola’s attempts to minimize its applicability.
                   6   The Federal Circuit found that the district court was correct to “limit[] the scope of the
                   7   patent to its overall ornamental visual impression, rather than to the broader general
                   8   design concept of a rocket-like tossing ball.” OddzOn Prods., Inc. v. Just Toys, Inc., 122
                   9   F.3d 1396, 1405 (Fed. Cir. 1997) (emphasis added). Like Nikola does here with the
              10       overall “aerodynamic design,” “continuous line,” and “nose” (see Willis Decl. Ex. 5 at 1,
              11       3, 6), the plaintiff contended that the “overall similarity of the ‘rocket-like’ appearance
              12       [was] sufficient to show infringement.”        OddzOn, 122 F.3d at 1405.         The courts
              13       disagreed. The district court recognized “that any ball with a tail and fins, regardless of
              14       its ornamental features, would appear to be similar to the patented design,” but that was
              15       insufficient for infringement. Id. at 1400. The differences between the claimed and
              16       accused designs in OddzOn, see id. at 1399-1400, are even less glaring than what Nikola
              17       calls “minor differences” here. (Opp. at 13.) Agreeing with the district court, the Federal
              18       Circuit rejected the plaintiff’s contentions. Id. at 1405. The Court should do the same
              19       here.6
              20                When Nikola compares the designs, it again focuses on general design concepts
              21       and unclaimed features, or simply ignores the obvious differences. For example, Nikola
              22       draws attention to “[s]imilar height profiles.” (Willis Decl. Ex. 5 at 4.) Even if the
              23       profiles were the same, the D’944 patent does not claim any height profile and it is legal
              24
                       6
              25   Nikola argues Tesla distorts OddzOn. (Opp. at 12.) But Tesla’s reliance on both sides
                 of the OddzOn court’s analysis is well-founded because the Federal Circuit treats the
              26 inquiries in the same way. See, e.g., High Point Design LLC v. Buyer’s Direct, Inc., 621
                 F. App’x 632, 638, 641-42 (Fed. Cir. 2015) (analyzing visual differences in side-by-side
              27 comparison for both invalidity and infringement and citing cases indicating the same test
                 is used for infringement and anticipation and that “[i]t is axiomatic that claims are
              28 construed the same way for both invalidity and infringement”).
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                   1   error to find infringement based on unclaimed features like size. Sun Hill Indus., Inc. v.
                   2   Easter Unlimited, Inc., 48 F.3d 1193, 1196-97 (Fed. Cir. 1995), abrogated on other
                   3 grounds, Egyptian Goddess, 543 F.3d 665. And that Nikola seeks to have the Court
                   4 entirely ignore the obvious differences Tesla identified is clear because Nikola does not
                   5 even address them in its side-by-side comparisons. (See Opp. at 15; Willis Decl. Ex. 5 at
                   6 1, 3, 5-6 (no red lines drawn toward rear of accused fuselage).) But it is also legal error
                   7 to not consider all features in all figures of the claim, as Nikola asks this Court to do.
                   8 Int’l Seaway Trading Corp. v. Walgreens Corp., 589 F.3d 1233, 1241 (Fed. Cir. 2009);
                   9 Contessa Food Prods., Inc. v. Conagra, Inc., 282 F.3d 1370, 1378-79 (Fed. Cir. 2002),
              10       abrogated on other grounds, Egyptian Goddess, 543 F.3d 665.
              11              Moreover, even Nikola’s side-by-side comparisons highlight the obvious
              12       differences identified by Tesla. For example, in the below comparison from page 4 of
              13       Exhibit 5 to the Willis Declaration, Nikola drew its red lines such that the distinct
              14 claimed design is absent from the Tesla Semi.
                                 Tesla Semi                                       Claimed Design
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              16
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                              Finally, Nikola’s reference to Rosco, Inc. v. Mirror Lite Co., 304 F.3d 1373 (Fed.
              23
                       Cir. 2002) is inapposite. Rosco addresses invalidity for claiming entirely functional
              24
                       design, and not the proper construction of a design that includes both functional and
              25
                       ornamental aspects. See id. at 1378. But Rosco also highlights why Tesla’s position is
              26
                       correct.   In its Opposition, Nikola continues to argue infringement based on
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                       aerodynamics. (See, e.g., Opp. at 14 (referencing “aerodynamic design”).) That is
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                   1   function, not ornamentation. And two dissimilar fuselage ornamental designs, like those
                   2   here, can both be aerodynamic. See Rosco, 304 F.3d at 1378.
                   3         In sum, Nikola’s attempts to have the Court ignore obvious dissimilarities and
                   4   continue this case based on the general design concept of an “aerodynamic design”
                   5   should be rejected. The Court must not look past the dissimilarities nor ignore portions
                   6   of the patented design as Nikola does. Taken together, these show that the overall
                   7   claimed design as a whole is substantially dissimilar from the Tesla Semi.
                                    3.     The Ornamental Aspects Of The Tesla Semi’s Windshield Are
                   8
                                           Plainly Dissimilar From Nikola’s Claimed Design.
                   9         Nikola does not meaningfully contest that, in light of its utility patent, the D’968
              10       patent must be construed narrowly. (See Moving Br. at 15.) Under that principle, it is of
              11       paramount importance to recognize that the patent’s drawings require a single continuous
              12       pane that is otherwise unornamented.7 Nikola’s position, however, asks the Court to
              13       ignore the bedrock principle that “[a] patented design is defined by the drawings in the
              14       patent . . . .” KeyStone Retaining Wall Sys., Inc. v. Westrock, Inc., 997 F.2d 1444, 1450
              15       (Fed. Cir. 1993); see also, e.g., Contessa, 282 F.3d at 1378; In re Mann, 861 F.2d 1581,
              16 1582 (Fed. Cir. 1988) (“Design patents have almost no scope. The claim at bar, as in all
              17 design cases, is limited to what is shown in the application drawings.”).
              18             First, Nikola effectively asks this Court to redraw its claimed design to include
              19 structural features that it did not claim.8 (See Opp. at 8.) Nikola’s argument that “the
              20 patented design does allow for breaks” is directly contradicted by the D’968 patent’s
              21 drawings. (Id. at 8 n.1.) No breaks are depicted. Second, Nikola improperly departs
              22 from comparing the patented design to the Tesla Semi, and instead notes that “[t]he
              23 Nikola [i.e., the alleged commercial embodiment of Nikola’s patent] has an A pillar.”
              24
              25       7
                   Nikola’s utility patent confirms that the claimed windshield is “a continuous piece of
                 transparent substrate.” (Makker Decl. Ex. 4 at [0035] (emphasis added).)
              26
                 8
                   That the pane is continuous without any intervening structures is confirmed by the
              27 prosecution history, where the examiner objected to the original drawings because they
                 showed lines through the windshield that may have “represent[ed] structure lines,” but
              28 Nikola removed them. (See Makker Decl. Ex. 9.)
                                                                    8
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                   1    (Id. at 8 (emphasis added).) But “[t]he test for infringement is not whether the accused
                   2 product is substantially similar to the patentees commercial embodiment of the claimed
                   3 design.” Sun Hill, 48 F.3d at 1196. As shown in Tesla’s photographs, the Tesla Semi’s
                   4 windshield is discontinuous and unlike the claimed design. (See Moving Br. at 16.)
                   5           When Nikola does attempt to address the ornamental features, it again asks the
                   6    Court to improperly “ignore the obvious differences between the claimed and accused
                   7    products.” NuVasive, 2018 WL 2734881, at *4. For example, Nikola argues that its
                   8    patent “is agnostic as to the lights.” (Opp. at 9.) But after disclaiming the ornamentation
                   9    of the lights as shown by depicting them with broken lines above and outside the
              10        boundary of its windshield (see D’968 patent at Figs. 1, 5), Nikola cannot now argue that
              11        the Tesla Semi’s windshield is similar when it is ornamented with lights within the
              12        boundary of the windshield. Cf. Apple, Inc. v. Samsung Elecs. Co., No. 11-CV-01846-
              13        LHK, 2012 WL 3071477, at *4 (N.D. Cal. July 27, 2012) (finding patent “specifically
              14        disclaims the subject matter shown by the use of broken lines”).
                                      4.     Nikola Cannot Use Prior Art To Expand The Scope Of Its
              15
                                             Claims.
              16               For each patent, Nikola makes reference to the cherry-picked prior art it included
              17        in the FAC to improperly argue for broader claim scope than that to which it is entitled.
              18        (See Opp. at 10, 15-16.) These arguments rest on Nikola’s misapplication of Egyptian
              19        Goddess and should be rejected.
              20               First, where, as here, “the claimed design and the accused design [are] sufficiently
              21        distinct,” there is no need to look to the prior art. Egyptian Goddess, 543 F.3d at 678.
              22               Second, it is the defendant that raises prior art under the ordinary observer test to
              23        amplify the importance, to an ordinary observer, of minor differences between the
              24        accused and claimed designs. See id. at 678-79; see also Crocs, 598 F.3d at 1303 (“If the
              25        claimed design is close to the prior art designs, small differences between the accused
              26        design and the claimed design assume more importance to the eye of the hypothetical
              27        ordinary observer.” (emphasis added) (citation omitted)). As the Federal Circuit noted, in
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                   1    the ordinary observer test the defendant “is the party with the motivation to point out
                   2    close prior art, and in particular to call to the court’s attention the prior art that an
                   3    ordinary observer is most likely to regard as highlighting the differences between the
                   4    claimed and accused design.” Egyptian Goddess, 543 F.3d at 679 (emphasis added).
                   5    That is why the Federal Circuit put the “burden of production as to any comparison prior
                   6    art on the accused infringer.” Id. at 678-79. Were it otherwise, a plaintiff would only
                   7    have to point to dissimilar prior art to obtain broader claim scope than warranted, as
                   8    Nikola does here.9
                   9           The Court should reject Nikola’s improper attempt to expand its claim scope.
                               C.    The Court Need Not Consider Nikola’s Legally Irrelevant Materials
              10
                               Nikola makes much of the FAC’s reference in paragraph 107 to an alleged “expert
              11
                        opinion” (Opp. at 1, 6, 7), but that allegation cannot save the FAC. The allegation should
              12
                        not be taken as true because it is entirely conclusory and devoid of factual content. See,
              13
                        e.g., Koehler v. Litehouse, Inc., No. CV 12-04055 SI, 2012 WL 6217635, at *2-3 (N.D.
              14
                        Cal. Dec. 13, 2012) (finding statements such as “Dr. Carson opined” to be “conclusory
              15
                        assertions” of the “expert[’s] opinion, but makes no statements of fact”); Corwin v. Conn.
              16
                        Valley Arms, Inc., 74 F. Supp. 3d 883, 890 (N.D. Ill. 2014) (finding expert’s statements
              17
                        “still too conclusory to survive a Rule 12(b)(6) motion”).
              18
                               Likewise, the articles cited by Nikola also have no bearing on Tesla’s motion.
              19
                        While Nikola couches these articles as prima facie evidence of infringement, they are no
              20
                        such thing. First, only one of these articles even refers to Nikola’s patents, and it was
              21
                        written after Nikola filed suit.   Therefore, the articles are irrelevant to the claimed
              22
                        designs. Sun Hill, 48 F.3d at 1196; cf. Keystone, 997 F.2d at 1450-51 (noting that design
              23
                        “as a whole” is considered for infringement and finding evidence of confusion did not
              24
                        create a genuine issue of fact because it did not show confusion as to the claimed design).
              25
                        Second, these articles describe only broad general design concepts. For example, Nikola
              26
                        9
              27   While not the subject of Tesla’s motion to dismiss, there is closer prior art than what
                 Nikola cherry-picked for its FAC. But because of plain dissimilarities between the
              28 claimed and accused designs, Tesla has not raised prior art in connection with its motion.
                                                                     10
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                   1    points to a description of the Nikola as a “very modern looking truck” and having “an
                   2    aero-dynamic design,” and that both trucks have a “space-age look and feel.” (Opp. at 6.)
                   3    The article did not say that the two trucks have the same look and feel due to the claimed
                   4    designs.
                   5           Nikola also distorts Truck Trend’s account. (See Opp. at 6-7.) Nikola fails to tell
                   6    the Court that the entire article was based on a “teaser” image from which it would be
                   7    impossible to determine the details of the Tesla design. (See Makker Decl. Ex. 10.)
                   8    Indeed, a number of the articles cited in the FAC were written either before there was
                   9    even a “teaser” image, or based only on the “teaser” image. (See FAC at ¶¶ 125-127.)
              10        The image shows only a blacked-out front view of the Tesla Semi. (See Makker Decl.
              11        Ex. 10.) Moreover, as with other articles, Truck Trend is discussing Nikola’s truck, as
              12        opposed to its patents, in making any comparison. As can be seen in the article, Nikola’s
              13        truck does not even have the single continuous pane of glass claimed, showing why such
              14        comparisons are irrelevant. (See id.) Finally, the Engadget article—written after Nikola
              15        filed suit—merely says there are some similarities. But some similarities alone are not
              16        enough to survive a motion to dismiss where there are so many glaring dissimilarities.
              17        See, e.g., Colida, 347 F. App’x at 571 (affirming dismissal of claims because
              18        “dissimilarities far exceed the similarities”).
              19               Nikola’s expert’s conclusion and article citations cannot change that there can be
              20        no infringement in light of the glaring dissimilarities in the designs.
              21        III.   CONCLUSION
              22               For the reasons stated above and in Tesla’s moving brief, Tesla respectfully
              23        requests that the Court dismiss the FAC with prejudice.
              24
              25        DATED this 15th day of August, 2018.
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              28
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              17
              18                                    CERTIFICATE OF SERVICE
              19              I hereby certify that on August 15, 2018, I electronically transmitted the attached
              20 document(s) to the Clerk’s Office using the CM/ECF System for filing and transmittal of
              21 a Notice of Electronic Filing to the parties who are CM/ECF registrants.
              22
              23                                                 s/ Brenda Wendt

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